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                             EXHIBIT D
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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

  TIMOTHY KING, MARIAN ELLEN
  SHERIDAN, JOHN EARL HAGGARD,
  CHARLES JAMES RITCHARD, JAMES
  DAVID HOOPER, and DARREN WADE                No. 2-20-cv-13134
  RUBINGH,
                                               HON. LINDA V. PARKER
        Plaintiffs,
  v                                            MAG. R. STEVEN WHALEN

  GRETCHEN WHITMER, in her official               DECLARATION OF
  capacity as Governor of the State of         HEATHER S. MEINGAST IN
  Michigan, JOCELYN BENSON, in her             SUPPORT OF DEFENDANTS
  official capacity as Michigan Secretary of   WHITMER AND BENSON’S
  State and the Michigan BOARD OF STATE         MOTION FOR SANCTIONS
  CANVASSERS,                                    UNDER 28 U.S.C. § 1927

        Defendants,

  CITY OF DETROIT,

        Intervening Defendant,

  ROBERT DAVIS,

        Intervening Defendant,

  DEMOCRATIC NATIONAL
  COMMITTEE and MICHIGAN
  DEMOCRATIC PARTY,

       Intervening Defendant.
  ___________________________________




                                        1
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     DECLARATION OF HEATHER S. MEINGAST IN SUPPORT OF
  DEFENDANTS WHITMER AND BENSON’S MOTION FOR SANCTIONS
                   UNDER 28 U.S.C. § 1927

       I, Assistant Attorney General Heather S. Meingast, being duly sworn,

 voluntarily state as follows:

    1. I have been licensed to practice law in the State of Michigan since 1998.

    2. I primarily practice law in Ingham County, Michigan.

    3. I have worked for the Michigan Department of Attorney General since
       February 2004.

    4. During my nearly 17 years with the office, I have worked in the
       Department’s Public Employment, Elections and Tort Division as well as in
       the Appellate Division and was formerly the Division Chief of the Opinions
       Division. During these years, I frequently handled election cases in state
       and federal court and at the trial court and appellate level.

    5. I am presently the Division Chief for the Civil Litigation, Employment and
       Elections Division, and have held that position since February 2019. In this
       position, I supervise five attorneys, including Assistant Attorney General
       Erik A. Grill.

    6. Assistant Attorney General Grill and I worked together researching and
       drafting the various submissions filed by Defendants Whitmer, Benson, and
       the Board of State Canvassers in this matter, with each of us handling
       different issues and working on separate parts of the submissions.

    7. To the best of my recollection, the following chart accurately reflects the
       time I personally spent on various activities performed in defense of this
       matter:


  Date                 Activity                                            Hours
  11/27/20             Review Plaintiffs’ Complaint                        1.0


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  11/27/20           Email to clients re: new filing                   0.20
  11/30/20           Review Plaintiffs’ Amended Complaint and          2.0
                     exhibits
  11/30/20           Review Plaintiffs’ emergency motion for           1.0
                     declaratory judgment and injunctive relief
  12/1/20            Email to clients updating on case and service     0.1
  12/2/20            Email to clients advising of due date for         0.1
                     response to injunction motion
  12/2/20            Legal research on mootness and abstention         1.0
                     doctrines
  12/2/20            Draft portions of Defendants’ response to         4.0
                     Plaintiffs’ emergency motion for declaratory
                     and injunctive relief, including introduction,
                     statement of facts, mootness and abstention
                     arguments, and state law claims
  12/2/20            Review and edit Brater Declaration in support     0.5
                     of Defendants’ Response to Plaintiffs’
                     emergency motion for declaratory and
                     injunctive relief
  12/2/20            Email to clients with draft of response brief     0.1
  12/2/20            Review and edit draft of Defendants’ Response     0.75
                     to Plaintiffs’ emergency motion for declaratory
                     and injunctive relief before filing
  12/2/20            Review and edit response to emergency motion      0.3
                     to seal
  12/2/20            Emails to clients with filed briefs               0.1
  12/7/20            Review December 7, 2020, Opinion & Order          0.5
  12/7/20            Emails to clients attaching December 7 Opinion    0.1
                     & Order
  12/22/20           Review and edit Defendants’ motion to dismiss     1.5
                     and brief for filing
  1/14/20            Review voluntary dismissal and email clients      0.3
                     with update




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 Total Hours                             13.55
 Reasonable rate1                        $395/hr

 Total Attorney Fees/Costs                     $5,352.25


 I declare under penalty of perjury that the foregoing is true and correct.


 ________________________________              Dated: January 28, 2021




 1 Based on the State Bar of Michigan’s 2020 Economics of Law Practice in
 Michigan Survey, the median and mean billing rates for election law attorneys in
 the Lansing area is $300 and $395 respectively. See https://www.michbar.org/
 file/pmrc/articles/0000156.pdf. Given my years of experience and supervisory
 position, an hourly rate of $395 is reasonable in this matter.

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